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 6
 7                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,         )       Case No. CR 07-515-03 WBS
                                       )
10               Plaintiff,            )
                                       )
11   v.                                )       STIPULATION TO CONTINUE SELF-
                                       )       SURRENDER DATE OF MR. HERNANDEZ
12                                     )       AND [PROPOSED] ORDER THEREON
     ALEX HERNANDEZ,                   )
13                                     )
                 Defendant.            )
14                                     )
15                                     )

16        IT IS HEREBY STIPULATED by and between the parties that the

17   surrender date for Alex Hernandez, currently set for August 20,
18   2012, be extended to August 31, 2012.
19        The reason for this stipulation is that Mr. Hernandez was
20
     shot four times on July 21, 2012 and has sustained severe
21
     injuries.   He was admitted to the ICU at Mercy San Juan Hospital
22
     in the early morning of July 22, 2012.            Mr. Hernandez has been
23
     released from ICU, but is still seriously injured and attempting
24
     to recover.
25
26
     STIPULATION TO CONTINUE SELF-
     SURRENDER DATE OF MR. HERNANDEZ
27   AND [PROPOSED] ORDER THEREON
     PEOPLE V. HERNANDEZ;
28   Case No. CR 07-515-WBS                1
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 1        The   parties    agree       that,    under   the   circumstances,   a
 2   continuance of the surrender date of August 20, 2012 to August
 3   31, 2012 is sufficient.       Within that period, the parties intend
 4
     to continue to ascertain Mr. Hernandez’ prognosis, and when and
 5
     to where (a Bureau of Prisons hospital facility or a Bureau of
 6
     Prisons prison camp as is currently contemplated) it would be
 7
     appropriate for him to surrender.
 8
          IT IS SO STIPULATED.
 9
                                                  BENJAMIN B. WAGNER
10                                                United States Attorney

11   DATED: August 17, 2012                    By:/s/Michael M. Beckwith
                                                  MICHAEL M. BECKWITH
12                                                Assistant U.S. Attorney
13                                                Attorneys for Plaintiff
14
     DATED: August 17, 2012                    By:/s/David J. Cohen
15
                                                  DAVID J. COHEN
16
                                                  Attorneys for Defendant
17                                                ALEX HERNANDEZ

18
          IT IS SO ORDERED.
19
20
21   DATED:     August 17, 2012

22
23
24
25
26
     STIPULATION TO CONTINUE SELF-
     SURRENDER DATE OF MR. HERNANDEZ
27   AND [PROPOSED] ORDER THEREON
     PEOPLE V. HERNANDEZ;
28   Case No. CR 07-515-WBS                2
